     Case 1-18-45280-nhl               Doc 22       Filed 09/17/18          Entered 09/17/18 17:57:10




                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NEW YORK

In re:                                                             Chapter 11

Blue Gold Equities LLC, et al.,                                    Case No.: 18-45280 (NHL)

                                     Debtors.1                     Joint Administration Requested




                              LIST OF CONSOLIDATED CREDITORS




1   The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961), Amsterdam Avenue
    Market LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood LLC (1703), Seasons Lakewood
    LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC (3331), Seasons Cleveland LLC (7367),
    Lawrence Supermarket LLC (8258), Upper West Side Supermarket LLC (8895) and Seasons Corporate LLC
    (2266) (collectively the “Debtors”). The mailing address for the Debtors, solely for purposes of notices and
    communications, is: 5 Doughty Boulevard, Inwood, NY 11096.
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319 Cedarbridge LLC                          38 Degrees Refrigeration                 A B Famous Gefilte Fish
19 Negba St                                  124 Beachway Ave                         209 McLean Blvd
Lakewood, NJ 08701                           Keansburg, NJ 07734                      Paterson, NJ 07504




A J Produce Corp.                            A L Foods                                A L Recycling
NY Terminal Market, 140A                     4200 Amos                                38-40 Review Ave
Bronx, NY 10474                              Baltimore, MD 21215                      Long Island City, NY 11101




A M Judaica                                  A to Z Import Inc                        A. Yousif
P.O. Box 507                                 301 E 88 Street                          2 Bloomer Drive
Monsey, NY 10952                             Brooklyn, NY 11236                       Burlington, NJ 08016




A.J. Trucco Inc                              A-1 Merchandise                          A-1 Tablecloth Co.
343-344C NYC Term. Mkt.                      170 Schuyler Ave                         450 Huyler Street, Suite 102
Bronx, NY 10474                              North Arlington, NJ 07031                South Hackensack, NJ 07606




Acme Paper Supply Co.                        ACME Smoked Fish Corp.                   Advanced Fire Protection
8229 Sandy Court                             26-56 Gem Street                         2340 Monumental Ave
P.O. Box 422                                 Brooklyn, NY 11222                       Halethorpe, MD 21227
Savage, MD 20763




Agri Processors, Inc                         Agri Star                                Alarm Specialists, Inc
1465 Utica Ave                               5600 1st Ave                             333 Old Tarrytown Road
Brooklyn, NY 11234                           Brooklyn, NY 11220                       White Plains, NY 10603




Albert Henek                                 Aleph Bais Dist.                         Aleph Bais Dist.
577 Pacing Way                               1327 44 Street                           209 McLean Blvd
Westbury, NY 11590                           Brooklyn, NY 11219                       Paterson, NJ 07504




A-liminate Pest Control                      All Natural Products LLC                 Allbrand Forklift
8718 101 Street                              50-29 69 Place                           92 North Main Street
Ozone Park, NY 11416                         Woodside, NY 11377                       P.O. Box 473
                                                                                      Windsor, NJ 08561




Alle Processing                              Amby International Inc                   American Express
56-20 59 Street                              1460 East 12 Street                      P.O. Box 650448
Maspeth, NY 11378                            Brooklyn, NY 11230                       Dallas, TX 75265-0448




American Express Corporat                    AMI Magazine                             AMI Magazine
P.O. Box 650448                              1575 50th Street                         22 Bartenura Road
Dallas, TX 75265-0448                        Brooklyn, NY 11219                       Lakewood, NJ 08701
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AP Electric Technologies                      Aqua Floral and Design                    Arden Inc
730 Ridge Ave                                 518 East Penn Street                      145-11 Jamaica Ave
Lakewood, NJ 08701                            Long Beach, NY 11561                      Jamaica, NY 11435




Arken Inc                                     Ashpa Management                          Assa Abloy Entrance Sys.
145-11 Jamaica Ave                            P.O. Box 972                              P.O. Box 827375
Jamaica, NY 11435                             Lakewood, NJ 08701                        Philadelphia, PA 19182




Atelier Industries                            Atlantic BioFuels LLC                     Avenue Gourmet
325 West 38 St, Suite 1107                    3102 Glen Ave                             1601 Knecht Ave
New York, NY 10018                            Baltimore, MD 21215                       Halethorpe, MD 21227




Avi Blonder                                   B C Industries                            B W Food Inc
1670 Ryder Street                             55 Onderdonk Ave                          72 New Hook Road
Brooklyn, NY 11234                            Ridgewood, NY 11385                       P.O. Box 82
                                                                                        Bayonne, NJ 07002




B W Foods Inc.                                Bagel Bites                               Bagel Bites
72 New Hook Inc.                              240 60 Street                             240 60th Street
P.O. Box 82                                   Brooklyn, NY 11220                        Brooklyn, NY 11220
Bayonne, NJ 07002




Bais Tova                                     Baked by Bibis LLC                        Baldor Specialty Foods
555 Oak Street                                2025 East 3rd Street                      155 Food Center Drive
Lakewood, NJ 08701                            Brooklyn, NY 11223                        Bronx, NY 10474




Baltimore Baked Cookies                       Baltimore Specialty Fish                  Bank Capital Services
1111 Greenwood Road                           2902 Terry Dr-F                           dba FNB Equip. Finance
Pikesville, MD 21208                          Baltimore, MD 21209                       1853 Highway 315
                                                                                        Pittston, PA 18640




Bank Capital Services                         Bank United                               Barry Mesner
dba FNB Equipment                             445 Broadhollow Road                      780 Caffrey Avenue
1853 Highway 315                              Melville, NY 11747                        Far Rockaway, NY 11691
Pittston, PA 18640




Ba-Tampte                                     Bay Marketing                             BB Chicken Birdsboro
77 Brooklyn Terminal Mkt.                     86-90 188 Street                          1100 Lincoln Road
Brooklyn, NY 11236                            Hollis, NY 11423                          Birdsboro, PA 19508




BBM Chocolate Dist.                           BBM Chocolate Dist.                       BBM Chocolate Dist.
16 Bloomfield Ave, Unit 100                   16 Bloomfield avenue                      16 Old Bloomfield Ave
Pine Brook, NJ 07058                          Pine Brook, NJ 07058                      Pine Brook, NJ 07058
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BBM Chocolate Dist.                          Be er Mayim                               Bedford Services Inc
248 Flushing Ave                             262 Hooper Street                         5308 13 Ave, Suite 313
Brooklyn, NY 11205                           Brooklyn, NY 11211                        Brooklyn, NY 11219




Beigel Baking Co.                            Beltway Wholesale                         Benzil
917 Seton Place                              1550 M Rear                               5308 13 Ave, Unit 154
Brooklyn, NY 11230                           Canton Center Drive                       Brooklyn, NY 11219
                                             Halethorpe, MD 21227




Best Cookies More                            Best Value Kosher Food                    Best Value Kosher Food
500 W John Street                            117 Ave L                                 P.O. Box 5984
Hicksville, NY 11801                         Newark, NJ 07105                          Newark, NJ 07105




Bestel Foods Inc                             Bethel Creamery                           BGE Office
606 B Rutgers Road                           483 Happy Ave                             P.O. Box 13070
West Babylon, NY 11704                       Swan Lake, NY 12783                       Philadelphia, PA 19101-3070




BH Import Export                             BHMT LLC                                  Bi-County Industries
5308 13 Ave                                  5014 16 Ave, 258                          75 Kean Street
Brooklyn, NY 11219                           Brooklyn, NY 11219                        West Babylon, NY 11704




Big Geyser Inc                               Bimbo Foods                               Binah
57-65 48 Street                              P.O. Box 150146                           1211 Lexington Ave
Maspeth, NY 11378                            Kew Gardens, NY 11415-0146                Lakewood, NJ 08701




Blok Chocolatier LLC                         Bloom Packaging Corp.                     Bloom Packaging Corp.
95 Lorimer Street, Suite 5                   121 Thirty First Street                   P.O. Box 320192
Brooklyn, NY 11206                           P.O. Box 320192                           Brooklyn, NY 11232
                                             Brooklyn, NY 11232




Blue and White Foods LLC                     Blue Sky Trading                          Blue Sky Trading
72 New Hook Road                             1556 61 Street                            1556 61st Street
Bayonne, NJ 07002                            Brooklyn, NY 11219                        Brooklyn, NY 11219




Blue Wolf Investment, LLC                    Bob Weiss Shelving                        Boening Bros Inc Beer Ale
509 Cedar Hill Road                          150 Walworth Street                       1098 Route 109
Far Rockaway, NY 11691                       Brooklyn, NY 11205                        Lindenhurst, NY 11757-0537




BP Graphics Printing                         Brand Central                             Broadway Heights Dairy In
315 Fourth Street                            841 Madison Street                        1510 5th Ave
Lakewood, NJ 08701                           Brooklyn, NY 11221                        Bay Shore, NY 11706
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Brooklyn Batter                             Brym Beverages NJ                        Bug A Boo
1815 East 21 Street                         21 Midtown Circle                        428 Clifton Ave, 165
Brooklyn, NY 11229                          Lakewood, NJ 08701                       Lakewood, NJ 08701




Butterflake Bake Shop                       C C Distributor LLC                      Calculated Fire Protectio
448 Cedar Lane                              1114 Ward Place                          Sycamore Square, 22510
Teaneck, NJ 07666                           Woodmere, NY 11598-1226                  Route 44
                                                                                     Salt Point, NY 12578




California Delight                          Callahead                                Cambrit International Inc
5849 Smithway Street                        304 Crossbay Blvd                        1122 Bay 25 Street
Los Angeles, CA 90040                       Far Rockaway, NY 11693                   Far Rockaway, NY 11691




Canada Dry Bottling Co.                     Canada Dry Bottling Co.                  Candymaven
114-02 15 Road                              P.O. Box 741078                          4819 16 Ave
College Point, NY 11356                     Atlanta, GA 30374-1078                   Brooklyn, NY 11204




Capricorn Seafood Inc                       Cazenove Printers                        Cazenove Printers
177 27 Street                               495 West Broadway                        506 Lefferts Ave, 2
P.O. Box 320198                             Cedarhurst, NY 11516                     Brooklyn, NY 11225
Brooklyn, NY 11232-1624




CEG Co. LLP                                 Celestial Printing                       Central State Distributor
30-30 Northern Blvd, Suite 4                242 Moffat Street                        10 Mills Lane
Long Island City, NY 11101                  Brooklyn, NY 11207                       Jackson, NJ 08527




Central Time Clock                          CFED LLC                                 Charlex
5-23 50 Ave                                 61 N Cleveland-Massillon                 78-26 Parkson Blvd
Long Island City, NY 11101                  Akron, OH 44333                          Fresh Meadows, NY 11366




Charter Oak Fire Insuranc                   Chester Plastic                          Chewy
One Tower Square                            P.O. Box 93                              3611 14 Street, Suite 407
Hartford, CT 06183                          Mountainville, NY 10953                  Brooklyn, NY 11218




Chewzy                                      Chizuk Amuno Congregation                Chocolate Palace
915 E Elizabeth Ave                         8100 Stevenson Road                      4 Sanztown Road
Linden, NJ 07036                            Pikesville, MD 21208                     Lakewood, NJ 08701




Chuster Noodle Packaging                    Cintas Corporation 042                   Cintas Corporation 042
495 West Broadway                           Loc. 781                                 P.O. Box 630803
Cedarhurst, NY 11516                        P.O. Box 630803                          Cincinnati, OH 45263-0803
                                            Cincinnati, OH 45263-0803
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Cintas Corporation, 11F                      Cintas Corporation, 11F                       Cintas Corporation, 790
Loc. 781                                     Loc. 781                                      12 Harbor Park Drive
P.O. Box 63080                               P.O. Box 630803                               Port Washington, NY 11050
Cincinnati, OH 45263-0803                    Cincinnati, OH 45263-0803




Clare Rose                                   Classic Confections                           Classic Confections
100 Rose Executive Blvd                      1745 Elizabeth Ave                            5314 16 Ave, Suite 195
Shirley, NY 11967                            Rahway, NJ 07065                              Brooklyn, NY 11204




Classic Confections NJ                       Classic Systems Inc                           Cleveland Kosher Market
1745 Elizabeth Ave                           86 Garden Street                              27 Shonny Court
Rahway, NJ 07065                             Westbury, NY 11590                            Lakewood, NJ 08701




Cloverland Farms Dairy                       CLS Planning Constructi                       CMI Credit Mediators
2701 Loch Raven Road                         200 Saw Mill Hill                             P.O. Box 456
Baltimore, MD 21218                          Guilford, CT 06437-1019                       Upper Darby, PA 19082-0456




Coca Cola                                    COCOs Creamery                                Coffee Distributing Corp.
P.O. Box 4108                                197 Wall Street, 4W                           200 Broadway
Boston, MA 02211                             West Long Branch, NJ 07764                    P.O. Box 766
                                                                                           New Hyde Park, NY 11040-0604




Coffee Solutions Group                       Colossal Imports LLC                          Computer Dimension
590 Smith St                                 1121 East 28 Street                           544 Park Ave, 21
Farmingdale, NY 11735                        Brooklyn, NY 11210                            Brooklyn, NY 11205




Con Edison                                   Confires                                      Cong. Geza Yakov
JAF Station                                  910 Oak Tree Ave, Suite J                     199 Lee Ave, 303
P.O. Box 1702                                South Plainfield, NJ 07080                    Brooklyn, NY 11211
New York, NY 10116-1702




Congregation Nitra                           Coosemans New York Inc                        Coosemans New York Inc
1 Park Lane                                  NYC Terminal Market, Unit 249 Row B           Unit 249 Row B
Monsey, NY 10952                             Bronx, NY 10474                               NYC Terminal Market
                                                                                           Bronx, NY 10474




Core 4 C LLC                                 Coutros Brothers Inc                          Cream-O-Land
330 Central Avenue                           344 Elm Street                                P.O. Box 146
Lawrence, NY 11559                           Perth Amboy, NJ 08861                         Florence, NJ 08518




Creative Metal Works                         Crestmark Equipment Finan                     Croton Farms
18 South 20 Street                           P.O. Box 233756                               3874 Danbury Road
Irvington, NJ 07111                          3756 Momentum Place                           Brewster, NY 10509
                                             Chicago, IL 60688
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Crown Fire Protection                         Crown Products                            Crusters
P.O. Box 1179                                 P.O. Box 696                              916 Penn Street
West Babylon, NY 11704                        Main Station                              Brooklyn, NY 11211
                                              Yonkers, NY 10703




Culinary Depot                                D Arrigo Bros. Co. of NY                  D R Central Inc
2 Melnick Drive                               315 Hunts Point Terminal                  P.O. Box 190380
Monsey, NY 10952                              Bronx, NY 10474                           Brooklyn, NY 11219




D.H. S Israeli Import                         Dagim Tahorim                             Daniel M. Polli Inc
633 Berriman Street                           1681 54 Street                            P.O. Box 723
Brooklyn, NY 11208                            Brooklyn, NY 11204                        Chester, NY 10918




Darling International                         Darrigo Bros.                             Davash Farms
825 Wilson Ave                                315 Hunts Point Term. Mkt                 P.O. Box 664
Newark, NJ 07105                              Bronx, NY 10474                           Monsey, NY 10952




Dave s Landscaping                            David Bloom                               David Elliot Poultry
416 Ashley Ave                                445 Central Ave., Suite 205               300 Breck Street
Lakewood, NJ 08701                            Cedarhurst, NY 11691                      Scranton, PA 18505




Decoline                                      Dependable Food Corp.                     DIPZ
4504 18 Ave                                   29 Executive Ave                          P.O. Box 560
Brooklyn, NY 11204                            Edison, NJ 08817-7839                     Monsey, NY 10952




Dora s Naturals Inc                           DS Snacks                                 Duane Morris Llp
21 Empire Blvd                                87-48 81 Ave                              1540 Broadway
South Hackensack, NJ 07606                    Ridgewood, NY 11385                       New York, NY 10036-4086




Dvash Foods USA Inc                           Dvash Foods USA Inc                       E M Ice Cream
2 Brewer Road                                 300 Corporate Drive                       701 Zerega Ave
Monsey, NY 10952                              Mahwah, NJ 07430                          Bronx, NY 10473




E. Armata Fruit Produce                       East Coast Egg Farms                      East Coast Egg Farms
114 NYC Term. Market                          2500 83 Street                            3573 Lawson Blvd
Bronx, NY 10474                               North Bergen, NJ 07047                    Oceanside, NY 11572




East Coast Paper Inc                          Eastern Lift Truck Co. In                 Ecolab Institutional
3500A Hampton Road                            P.O. Box 307                              24198 Network Place
Oceanside, NY 11572                           Maple Shade, NJ 08052                     Chicago, IL 60673-1241
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El Cafe USA Inc                            Elby Corp.                                Entermann s
641 Lexington Ave                          1608 Ave O                                57-54 Page Place
New York, NY 10022                         Brooklyn, NY 11230                        Maspeth, NY 11378




Epic Culinary                              Epic Refrigeration                        Esther Deutsch
1421 Locust Ave                            112 Capitol Ave, 2nd Floor                1136 58th Street
Brooklyn, NY 11230                         Williston Park, NY 11596                  Brooklyn, NY 11219




Evergreen Waste Corp.                      Excellence Chocolates                     F W Distributing
P.O. Box 250                               160 Chemen Bates 102                      P.O. Box 1025
Lawrence, NY 11559                         Ville Mont-Royal, QC H3S 1A3              Monsey, NY 10952
                                           Canada




F.E.M. Food Corp.                          Falcone Baking Co.                        Fantastic
30 Steuban Street                          1649-1657 61 Street                       P.O. Box 634
Brooklyn, NY 11219                         Brooklyn, NY 11204                        Carteret, NJ 07008




Federal Cleaning Contract                  Ferrari                                   Fierman Produce Exchange
P.O. Box 518                               96 Linwood Plaza, 406                     247-252 Hunts Point Marke
Manasquan, NJ 08736                        Fort Lee, NJ 07024                        Bronx, NY 10474




First Choice                               Flaum Appetizing                          Foodco
6700 Essington Ave, Unit D-1               288 Scholes Street                        5809 2nd Ave
Philadelphia, PA 19153                     Brooklyn, NY 11206                        Brooklyn, NY 11220




Ford Motor Credit                          FPPTLC, Inc                               Franklin Printing
P.O. Box 54200                             400 Mt. Wilson Lane                       1810 Flatbush Ave
Omaha, NE 68154                            Baltimore, MD 21280                       Brooklyn, NY 11210




Fresco                                     Fresh Checked                             Fresh From the Heart Inc
258 Hunts Point Term. Mkt                  585 Marcy Ave, Suite 4J                   172 Beach 144 Street
Bronx, NY 10474                            Brooklyn, NY 11206                        Rockaway Park, NY 11694-1113




Fresh Pro Food Distributo                  Fresh-N-Daily                             Fresh-N-Daily
2 Dedrick Place N, 2285                    1274 49 Street, Suite 442                 932 E 28 Street
Caldwell, NJ 07007                         Brooklyn, NY 11219                        Brooklyn, NY 11210




Freshpro Food Distributor                  Freund s Fish                             Fried s Egg Market
2 Dedrick Place                            4301 15 Ave                               30 Steuben Street
CN2285                                     Brooklyn, NY 11219                        Brooklyn, NY 11205
Caldwell, NJ 07007
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Friend s Painting                             Fruitco Corp.                             G K Services
5 Stevenson Ave                               431 Row D                                 P.O. Box 842385
Cortlandt Manor, NY 10567                     NYC Terminal Market                       Boston, MA 02284-2385
                                              Bronx, NY 10474




G P Gourmet                                   G.I.T. USA                                Galil
P.O. Box 340978                               328 Cranford Road                         120 Eileen Way
Brooklyn, NY 11234                            Cherry Hill, NJ 08003                     Syosset, NY 11791




Galil Importing Corp.                         Garden of Eat In                          Gary Grossman Inc
120 Eileen Way                                1416 Ave J                                130 Teresa Lane
Syosset, NY 11791                             Brooklyn, NY 11230                        Mamaroneck, NY 10543




GEM Wholesale                                 General Trading Co.                       Gertels Bake Shop
11 Brisk Lane                                 455 Sixteenth Street                      101 Steuben Street
Lakewood, NJ 08701                            Carlstadt, NJ 07072                       Brooklyn, NY 11205




Gevina Farms Inc                              Gevina Farms Inc                          Gila Greeen
316 First St                                  316 First St                              1218 59th Street
Elizabeth, NJ 07206                           Elizabethport, NJ 07206                   Brooklyn, NY 11219




Ginas Egoiz                                   Gio Caffe                                 Glatt Organics LLC
2 Taitch, 2                                   2148 East 2nd Street                      P.O. Box 110722
Monroe, NY 10950                              Brooklyn, NY 11223                        Brooklyn, NY 11211




Glicks                                        Glicks                                    Global Pest Control
72 New Hood Road                              72 New Hook Road                          382a Route 59, Suite 105
Bayonne, NJ 07002                             Bayonne, NJ 07002                         Monsey, NY 10952




Gold Confections                              Gold Nut Co.                              Golden Flow
3 Chestnut Street                             445 Park Ave                              54 Walworth Street
Suffern, NY 10901                             Brooklyn, NY 11205                        Brooklyn, NY 11205-0795




Golden Fluff, Inc                             Golden Taste                              Good Fellas
118 Monmouth Ave                              318 Roosevelt Ave                         6024 20 Ave
Lakewood, NJ 08701                            Spring Valley, NY 10977                   Brooklyn, NY 11204




Gotta Get a Bagel                             Grab-1                                    Granolachik
1039 Broadway                                 38 Mariner Way                            147 Chestnut Street
Woodmere, NY 11598                            Monsey, NY 10952                          Englewood, NJ 07631
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Graze                                        Great American Financial                 Greek Heritage Foods
143 Washington Ave                           P.O. Box 660831                          136 Madison Ave, 5th Floor
Lawrence, NY 11559                           Dallas, TX 75260-0831                    New York, NY 10016




Green and Ackerman Bakery                    Grow Behold Foods                        GS Distribution
65 Franklin Ave                              15 Chadbourne Road                       3333 S Pront Street
Brooklyn, NY 11205                           Rochester, NY 14618                      Philadelphia, PA 19148




Haddar                                       Hajjar Gourmet Foods                     Hamodia
72 New Hook Road                             15 Whiteweld Terrace                     207 Foster Ave
P.O. Box 82                                  Clifton, NJ 07013                        Brooklyn, NY 11230
Bayonne, NJ 07002




Handee Products                              Hanmi Bank                               Harold Levinson Associate
5785 Pare Street                             c/o AVP Collections                      21 Banfi Plaza
Montreal, QC H4P 1S1                         P.O. Box 2149                            Farmingdale, NY 11735
Canada                                       Gig Harbor, WA 98335




Hatzlacha Dist.                              Hebrew Academy of Long Be                HED Distributors LLC
5114 Ft. Hamilton Pkwy                       132 Spruce Street                        841 Madison Street
Brooklyn, NY 11219                           Cedarhurst, NY 11516                     Brooklyn, NY 11221




Heritage Systems Inc                         Herr s Foods Inc                         Hershel s
348 Huntingdon Ave                           P.O. Box 300                             4702 2nd Ave
Waterbury, CT 06708                          Nottingham, PA 19362                     Brooklyn, NY 11232




Hewlett Window Cleaning                      Hizme Foods Inc                          Holon
375 Sunrise Highway                          6002 Wallis Ave                          527 Kings Highway
Lynbrook, NY 11563                           Baltimore, MD 21215                      Brooklyn, NY 11223




Homeland Surveillance                        Hot Bagels - Teaneck                     Huguenot Sales Co.
715 East 7th Street                          976 Teaneck Road                         1135 Southern Blvd
Brooklyn, NY 11218                           Teaneck, NJ 07666                        Bronx, NY 10459




I. Halper                                    I. Halper Paper Supp                     Iberia Foods Corp.
51 Hook Road                                 51 Hook Road                             1900 Linden Blvd
Bayonne, NJ 07002                            Bayonne, NJ 07002                        Brooklyn, NY 11207




Ice Cream House                              Ice Cream House                          ILM
2 Church Street                              3624 15 Ave                              41 Carman Ave
Brooklyn, NY 11218                           Brooklyn, NY 11218                       Cedarhurst, NY 11516
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ILM Kosher Food                             IMF Food Group                            Imperial Bag Paper Co.
1342 Sterling Place, Suite 2B               450 Kent Ave, Suite 4A                    255 Routes 1 9
Brooklyn, NY 11213                          Brooklyn, NY 11249                        Jersey City, NJ 07306




Imperial Bag Paper Co.                      Incento Magic Inc                         Incento Magic Inc
555 Routes 1 9                              225 Route 1 9                             345 Lawrence Ave
Jersey City, NJ 07306                       Jersey City, NJ 07306                     Lakewood, NJ 08701




Internal Revenue Service                    Interstate Waste Services                 Israel Beigels Baking
P.O. Box 7346                               P.O. Box 554744                           5700 Ave D
Philadelphia, PA 19101-7346                 Detroit, MI 48255                         Brooklyn, NY 11203




ISSM Protective Services                    J J Creamery                              J J Dairy Corp.
45 Forshay Road                             57-48 49th Street                         100 Trumbull Street
Monsey, NY 10952                            Maspeth, NY 11378                         Elizabethport, NJ 07206




J J Dairy Corp.                             J J Farms Creamery                        J J Farms Creamery
100 Trumbull Street                         57-48 49 Street                           57-48 49th Street
Elizabeth, NJ 07206                         Maspeth, NY 11378                         Maspeth, NY 11378




J S Associates LLC                          J s Discount Wholesale                    J. Margiotta Company
P.O. Box 670722                             4139 Amos Ave                             100-105 NYC Terminal Mkt.
Flushing, NY 11367                          Baltimore, MD 21215                       Bronx, NY 10474




JC Sewer Drain Service                      JDN Marketing Inc                         Jewish Educational Toys
1481 Egmont Place                           1303 53 Street, 175                       234 Ninth Street
Far Rockaway, NY 11691                      Brooklyn, NY 11219                        Braddock, PA 15104




Jewish Press                                Jewish Press                              Jewish Press
4915 16 Ave                                 Attn B. Markowitz                         B. Markowitz
Brooklyn, NY 11204                          174 Lynch Street                          174 Lynch Street
                                            Brooklyn, NY 11206                        Brooklyn, NY 11206




Jewish Standard                             JMD Network LLC                           John J. Tacetta, P.E.
1086 Teaneck Road                           1227 51 Sreet, Suite B-6                  546 Blydenburgh Road
Teaneck, NJ 07666                           Brooklyn, NY 11219                        Hauppauge, NY 11788




Kalypso Farm Dairy Inc                      Kasowitz Benson Torres Llp                Katz Gluten Free
3 Pioneer Court                             Attn Robert M. Novick                     51 Forest Road, Suite 316
Huntington Stati, NY 11746                  1633 Broadway                             58
                                            New York, NY 10019                        Monroe, NY 10950
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Katz Gluten Free                            Katzman Berry Corp.                              KDI Atlantic Foods
P.O. Box 272                                213B NYC Terminal Mkt.                           100 Heartland Blvd
Mountainville, NY 10953                     Bronx, NY 10474                                  Brentwood, NY 11717




Kel Chai Corp.                              Kemach Food Products                             Kenover Marketing Corp.
1 Engle Street                              9920 Farragut Road                               72 New Hook Road
Englewood, NJ 07631                         Brooklyn, NY 11236                               Bayonne, NJ 07002




Kindline Enterprise Inc                     KingZak Industries Inc                           Kiryas Joel Poultry
5309 18 Ave, Suite 6                        3 Police Drive                                   Processing Plant
Brooklyn, NY 11204                          P.O. Box 1029                                    P.O. Box 596
                                            Goshen, NY 10924                                 Monroe, NY 10949




KL Products LLC                             Kleen Kut Inc                                    Klein s Naturals
141-17 72 Drive                             165 Casson Ave                                   4702 2nd Ave
Flushing, NY 11367                          Brooklyn, NY 11205                               Brooklyn, NY 11232




Klein s Real Kosher Ice C                   Klestadt Winters Jureller Southard Ste           Kol HaBirah LLC
3614 15 Ave                                 Attn Tracy Klestadt/Ian Winters                  1111 University Blvd W, Suite 305
Brooklyn, NY 11218                          200 West 41st Street                             Silver Spring, MD 20902
                                            17th Floor
                                            New York, NY 10036



Kosher Club Sales                           Kosher First LLC Tuv Taa                         Kosher Fresh Distributors
23 Williams Street                          502 Flushing Ave                                 P.O. Box 984
Lakewood, NJ 08701                          Brooklyn, NY 11205                               Lakewood, NJ 08701




Kosher Line Distribution                    Kosher Salads                                    Kosher Salads
38 Irene Court                              182 Nostrand Ave                                 953 53 Street
Lakewood, NJ 08701                          Brooklyn, NY 11205                               Brooklyn, NY 11219




Kosher Truck LLC                            Kosherline LLC                                   Krasdale Foods Inc
3424 Ludgate Road                           38 Irene Court                                   400 Food Center Drive
Baltimore, MD 21215                         Lakewood, NJ 08701                               Bronx, NY 10474




L N Consulting                              L N Consulting Group LLC                         L R Distributors inc.
c/o Kasowitz Benson Torres                  c/o Kasowitz Benson Torre                        26800 Network Place
1633 Broadway                               1633 Broadway                                    Chicago, IL 60673
New York, NY 10019                          New York, NY 10019




Lakewood Matzoh Bakery                      Lamonica Herbst Maniscalco, Llp                  Lance Kravis
P.O. Box 431                                Attn Jordan Pilevsky                             19 Glenmere Lane
Lakewood, NJ 08701                          3305 Jerusalem Avenue                            Commack, NY 11725
                                            Suite 201
                                            Wantagh, NY 11793
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Lantev Distributing Corp.                  Larchmont Window Cleaning                Lawrence Sales
10110A Foster Ave                          P.O. Box 63                              P.O. Box 984
Brooklyn, NY 11236                         Larchmont, NY 10538                      Lakewood, NJ 08701




LBD Produce Inc                            Le Chocolate                             Le Chocolate
NYC Terminal Market, B226                  1 Ramapo Ave                             2 Ramapo Ave
Bronx, NY 10474                            Suffern, NY 10901                        Suffern, NY 10901




Le Chocolate of Rockland                   Lee Distributors                         Lieber s Kosher Food Spec
1 Ramapo Ave                               303 Stanley Ave                          52-15 Flushing Ave
Suffern, NY 10901                          Brooklyn, NY 11207                       Maspeth, NY 11378




Lieber s Kosher Food Spec                  Lieber s Kosher Foods Inc                Liftco Elevator
90 E 5th Street                            52-15 Flushing Ave                       P.O. Box 1413
Bayonne, NJ 07002                          Maspeth, NY 11378                        Spring Valley, NY 10977




Limation Inc                               Lowitt Alarms Security                   Luce Schwab Kase
181C East Jamaica Ave                      25 Bethpage Road                         9 Gloria Lane
Valley Stream, NY 11580                    Hicksville, NY 11801-1525                Caldwell, NJ 07007




M K Food Distributing Inc                  M M Food Distribution                    M M Food Services
5 Lorimer Street, Suite 1B                 19 Saimar Drive, Unit 201                288 Scholes Street
Brooklyn, NY 11206                         Monroe, NY 10950                         Brooklyn, NY 11206




M M Salad Dist. Inc                        M P Distributors                         M Z Enterprise LLC
383 Kingston Ave, PMB, 290                 543 Bedford Ave                          34 Caranetta Drive
Brooklyn, NY 11213                         PMB 138                                  Lakewood, NJ 08701
                                           Brooklyn, NY 11211




M. Vergara Associates                      Maffei Cutlery                           Main Five Co.
200 Jericho Turnpike                       6119 Adams Street                        Lewis Murphy Realty Inc
Floral Park, NY 11001                      West New York, NJ 07093                  47 Hillside Ave 1st Fl.
                                                                                    Manhasset, NY 11030




Main Ingredient                            Main Street Auto Center                  Main Street Bake Shop
467 Allwood Road                           67-20 Main Street                        P.O. Box 110736
Clifton, NJ 07012                          Fresh Meadows, NY 11365                  Brooklyn, NY 11211




Manhattan Beer Distributo                  Manhattan Snacks                         Marine Park Distribution
955 East 149 Street                        898 Chicken Valley Road                  1521 East 32 Street
Bronx, NY 10455-2097                       Locust Valley, NY 11560                  Brooklyn, NY 11234
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Marshmallow Comics LLC                      Marshmallow Comics LLC                   Martin Bamberger Co.
1405 56 Street                              1405 56 Street                           4110 Pinkney Road
Brooklyn, NY 11291                          Brooklyn, NY 11219                       Baltimore, MD 21215




Martin s Potato Chips Inc                   Matzot Charlap                           Mayer Gold
P.O. Box 28                                 78-26 Parsons Blvd                       917 Plainview Ave.
Thomasville, PA 17364                       Fresh Meadows, NY 11366                  Far Rockaway, NY 11691




Mayim Chaim                                 MB Kosher Distr.                         Meant to Be Natural Foods
626 Whittier Street                         1365 39 Street                           21 Bush Lane, 3
Bronx, NY 10474                             Brooklyn, NY 11218                       Spring Valley, NY 10977




Mechis Deli Corp.                           Mechis Deli Corp.                        Mechy s Deli
741 East 9 Street                           741 East 9th Street                      330 Central Ave
Brooklyn, NY 11230                          Brooklyn, NY 11230                       Lawrence, NY 11559




Mechy s Deli                                Mehadrin Ice Cream                       Mehadrin Ice Cream
68-18 Main Street                           100 Trumbull Street                      100 Trumbull Street
Flushing, NY 11367                          Elizabethport, NJ 07206                  Elizabeth, NJ 07206




Mehadrin Ice Cream                          Meltzer Lippe Goldstein                  Menachems Dips
100 Trumbull Street                         190 Willis Ave                           103 Chateau Drive
Elizabeth, NJ 07276                         Mineola, NY 11501                        Lakewood, NJ 08701




Meraki Direct Inc                           Merchants Burglar Alarms                 Mesivta Tiferes Shmiel
606 Hutgers Road                            203 Patterson ave.                       Aleksander
West Babylon, NY 11704                      Wallington, NJ 07057                     P.O. Box 191176
                                                                                     Brooklyn, NY 11219




Met Speed Label                             Micon Industries LLC                     Mid-Atlantic Media
P.O. Box 850                                P.O. Box 267                             11459 Cronhill Drive, Suite A
Levittown, PA 19058                         Suffern, NY 10901                        Owings Mills, MD 21117




Mishpacha Magazine                          MJA Citrus                               Mohammed Toom
5809 16 Ave                                 126 Peninsula Drive                      29 53 Street
Brooklyn, NY 11204                          Babylon, NY 11702                        Brooklyn, NY 11232




Mopac-Rendering                             Moshe Bloom                              Nassau Candy
P.O. Box 64395                              731 Henry Road                           530 West John Street
Souderton, PA 18964                         Far Rockaway, NY 11691                   Hicksville, NY 11801
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Nassau County Polic Dept.                    Nassau Provisions Kosher                       Nathel Nathel
1490 Franklin Ave                            200 Albany Ave                                 NYC Terminal Market
Mineola, NY 11501                            Freeport, NY 11520                             357 Row C
                                                                                            Bronx, NY 10474




Natural Tasty LLC                            Natural Earth Products                         Natural Earth Products
267 1/2 Verona Ave                           361 Van Sinderen Ave                           670 Thomas S Boyland St
Newark, NJ 07104                             Brooklyn, NY 11207                             Brooklyn, NY 11212




Nature s Bandits LLC                         NC Tov                                         Neiman Wholesale Dist.
P.O. Box 541                                 1484 55 Street                                 382 R. 59, Suite 342
Riverside, CT 06878                          Brooklyn, NY 11219                             Monsey, NY 10952




Ner Mitzvah Inc                              Nestle Waters NA-Inc                           Neviot Corporation
101 West 7 Street                            P.O. Box 277015                                1143 East 8th Street
Bayonne, NJ 07002                            Atlanta, GA 30384-7015                         Brooklyn, NY 11230




New Albertsons / Acme Markets, Inc.          New Albertsons Corp.                           New York American Water
P.O. Box 956679                              Acme Markets                                   P.O. Box 371332
St. Louis, MO 63195                          P.O. Box 956679                                Pittsburgh, PA 15250-7332
                                             Saint Louis, MO 63195




New York Bottling Co.                        New York City Human Resources Admin.           New York State Department of Health
626 Whittier Street                          Attn Legal Department                          Office of the Commissioner
Bronx, NY 10474                              180 Water Street, Floor 1                      Corning Tower
                                             New York, NY 10038                             Empire State Plaza, Room 1043
                                                                                            Albany, NY 12237



New York State Department of Labor           Nianday Plumbing                               Nigun Music Inc
Building 12                                  1211 University Ave                            1124 42 Street
W.A. Harriman Campus                         Bronx, NY 10452                                Brooklyn, NY 11219
Albany, NY 12240




Nili s Fine Food                             Nitti Hood Cleaning                            Northeast Banana Corp.
303 East 83 Street, Suite 15E                58 Bloomfield avenue                           P.O. Box 354
New York, NY 10028                           Iselin, NJ 08830                               Massapequa Park, NY 11762




Northwestern Refuse                          Norton Rose Fulbright Us Llp                   Nounos Creamery
2001 Windsor Ave                             Attn Samuel Kohn/James Copeland                606 B. Rutgers Road
Baltimore, MD 21217                          1301 Avenue of the Americas                    West Babylon, NY 11704
                                             New York, NY 10019-6022




Nutri-Supreme                                NY Container Trailer                           NYC Citrus
4315 14 Street                               1015 North Wellwood Ave                        39-29 221 Street
Brooklyn, NY 11219                           Lindenhurst, NY 11757                          Bayside, NY 11361
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NYS Department of Taxation and Finance      NYS Department of Taxation and Finance           Oberlander Baking Co.
Attn Office of Counsel                      Bankruptcy/Special Procedures Section            555 Cortlandt Street
Bldg 9, WA Harriman Campus                  P.O. Box 5300                                    Belleville, NJ 07109
Albany, NY 12227                            Albany, NY 12205




Ocean Beverage                              Office MD-1 Inc                                  Office of the Attorney General
P.O. Box 782                                1391 Sawgrass Corp. Place                        Attn Laura A. Sprague
Lakewood, NJ 08701                          Fort Lauderdale, FL 33323                        AAG Charities Bureau
                                                                                             The Capitol
                                                                                             Albany, NY 12224



Office of the Attorney General              Office of the United States Trustee              Office of the United States Trustee
The Capitol                                 Acting Assistant U.S. Trustee                    Acting Assistant U.S. Trustee
Albany, NY 12224-0341                       U.S. Federal Office Building                     Alfonse D Amato Federal Courthouse
                                            201 Varick Street, Suite 1006                    560 Federal Plaza
                                            New York, NY 10014                               Central Islip, NY 11722-4456



Office of the United States Trustee         Oil Line Inc                                     Old World Marketplace
Attn William K. Harrington                  P.O. Box 750223                                  P.O. Box 144
U.S. Federal Office Building                Forest Hills, NY 11375                           Yonkers, NY 10740
201 Varick Street, Suite 1006
New York, NY 10014



Old World Marketplace                       On Hold Marketing                                One Drop
P.O. Box 144                                52 Main Street, Studio 3                         520 E 76 Street, Apt 14B
Yonkers, NY 10704                           Succasunna, NJ 07876                             New York, NY 10021




ON-IT Refrigeration                         Oppenheimer Chocolate USA                        Optimum
239 Robinson Ave, Suite 2                   171 Long Ave                                     P.O. Box 371378
Bronx, NY 10465                             Hillside, NJ 07205                               Pittsburgh, PA 15250-7378




Ortmayer                                    Osem USA                                         Ostreicher
855 Williams Ave                            333 Sylan Ave                                    205 Keap Street
Brooklyn, NY 11207                          Englewood Cliffs, NJ 07632                       Brooklyn, NY 11211




Oxford Health Insurance                     Pagano Melon Corp.                               Paleo Passion Foods LLC
P.O. Box 29135                              97 Brooklyn Term. Mkt.                           15 Valley Drive
Hot Springs Nati, AR 71903                  Brooklyn, NY 11236                               Greenwich, CT 06831




Paradise Distributors LLC                   Paradise Plastics                                Park Hatters
3592 Bedford Ave                            3301 Ave M                                       1310 48 Street
Brooklyn, NY 11210                          Brooklyn, NY 11210                               Brooklyn, NY 11219




Pas Yisroel Inc                             Paskesz                                          Passaic-Clifton Kashrus
917 Seton Place                             4473 1st Ave                                     279 Brook Ave
Brooklyn, NY 11230                          Brooklyn, NY 11232                               Passaic, NJ 07055
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Penn Jersey Paper Co.                        Pepsi Cola Bottling Co.                      Pestco
P.O. Box 820974                              114-02 15 Ave                                1257 42 Street
Philadelphia, PA 19182-0974                  College Point, NY 11356                      Brooklyn, NY 11291




PFA Distribution                             Pier 18                                      Pinchos Lipshutz
39 John Street                               4904 18th Ave                                55 Olympia Lane
New Rochelle, NY 10805                       Brooklyn, NY 11204                           Monsey, NY 10952




PMT Forklift                                 Popinsanity                                  Precise Plumbing
148-14 Liberty Ave                           80 Wilder Road                               73 Porete Ave
Jamaica, NY 11435                            Suffern, NY 10901                            North Arlington, NJ 07031




Preferred Elevator Compan                    Pride of the Farm LLC                        Pride of the Farm LLC
7110 Golden Ring Road, Suite 102             120 Iris Road                                400 Mt. Wilson Lane
Essex, MD 21221                              Lakewood, NJ 08701                           Pikesville, MD 21208




Prime Packaging                              Print on Point                               Prudential
1290 Metropolitan Ave                        413 Central Ave                              1245 East 13 Street
Brooklyn, NY 11237                           Cedarhurst, NY 11516                         Brooklyn, NY 11230




PSEG LI                                      Public Service Truct Rent                    Pure Foods
P.O. Box 9039                                25-61 49 Ave                                 3 Renee Court
Hicksville, NY 11802-9309                    Long Island City, NY 11101                   Lakewood, NJ 08701




Quality Frozen Foods                         Quality Frozen Foods Inc                     Quality Frozen Foods Inc
P.O. Box 4-0322                              1663 62nd Street                             P.O. Box 04-0322
Brooklyn, NY 11204                           P.O. Box 04-0322                             Brooklyn, NY 11204
                                             Brooklyn, NY 11204




Quality Glatt NJ Corp.                       Quality Yeast Dist.                          Queens Pita Bakery
383 Kingston Ave, Suite 262                  23 Shunemunk Road, 101                       68-34 Main Street
Brooklyn, NY 11213                           Monroe, NY 10950                             Flushing, NY 11367




Queens Pita Inc                              R L Goods Distr. Inc                         R S Sewer Contractors
35 Satmar Drive, 111                         1123 49 Street                               400 Faraday Ave
Monroe, NY 10950                             Brooklyn, NY 11219                           Lakewood, NJ 08701




R T Distributing                             R T Distributing                             R Z Filter Service
5014 16 Ave                                  750 Chestnut Ridge Road, Suite 360           34 Eagle Lane
Brooklyn, NY 11204                           Spring Valley, NY 10977                      Lakewood, NJ 08701
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R.D. Sales Door Hardwar                     R.W. Sauder Inc                              Rainforest Distribution C
220 West Park, Unit 3                       P.O. Box 427570                              20 Pulaski Street, Suite A
Pompton Plains, NJ 07444                    Furnace Hill Pike                            Bayonne, NJ 07002
                                            Lititz, PA 17543




Raskins Fish Market                         Reisman s                                    Repair Master Inc
320 Kingston Ave                            P.O. Box 112                                 213-54 34 Road
Brooklyn, NY 11213                          Brooklyn, NY 11204                           Bayside, NY 11361




RGIS                                        Ritz Flooring                                Robert M. Spano
P.O. Box 77631                              14909 Calvert St                             152 Adams Street
Detroit, MI 48277                           Van Nuys, CA 91411                           Bedford Hills, NY 10507




Robert Spano Plumbing Inc                   Royal Donuts                                 Royal Fish
152 Adams Street                            1274 49 Street, PMB 387                      84 E Route 59
Bedford Hills, NY 10507                     Brooklyn, NY 11219                           Monsey, NY 10952-3741




Royal Kosher Foods                          Royal Kosher Foods                           RT Direct Distributors
1274 49 Street                              4309 14 Ave                                  750 Chesnut Ridge Road, Suite 306
PMB 387                                     Brooklyn, NY 11219                           Spring Valley, NY 10977
Brooklyn, NY 11219




Rubin Brothers Produce Co                   SO                                           S R Trading
147-148 Row A                               750 Lexington Ave                            47-02 Metropolitan Ave
NY Terminal Market                          New York, NY 10022                           Ridgewood, NY 11385
Bronx, NY 10474




S. Bertram Inc                              S. Bertram Inc                               S. Bertram Inc
15 America Ave                              3401 Tremley Point Road                      P.O. Box 839
Lakewood, NJ 08701                          P.O. Box 4129                                Lakewood, NJ 08701
                                            Linden, NJ 07036




S. Katzman Produce                          S. Katzman Produce                           S.O.S. Distribution
213B NYC Terminal Mkt.                      NYC Terminal Market, 213B                    93 First Ave
Bronx, NY 10474                             Bronx, NY 10474                              East Rockaway, NY 11518




Safety Sprinkler                            Sally Williams Fine Foods                    Same Day Delivery
1070 38 Street                              1234 NE 4th Ave, Suite B                     P.O. Box 21011
Brooklyn, NY 11219                          Fort Lauderdale, FL 33304                    New York, NY 10087




Sami Ks Bakery LLC                          Say it With Cake                             SBP International
3500 Sunset Ave, Suite A4                   510 West 123 Street                          701 39th Street
Asbury Park, NJ 07712                       New York, NY 10027                           Brooklyn, NY 11232
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SBP International Inc                         Scarsdale Shopping Center Associates Llc           Schmidt Baking Co.
701 39 Street                                 P.O. Box 327h                                      P.O. Box 418770
Brooklyn, NY 11232                            Scarsdale, NY 10583                                Boston, MA 02241-8770




Schoke JFS                                    Schwartz Appetizing                                Scientic Fire Prevention
733 Summer Street                             2 Bluefiedl Drive, 203                             47-25 34 Street, Suite 203
Stamford, CT 06901                            Spring Valley, NY 10977                            Floral Park, NY 11001




Scientic Fire Prevention                      Seaview Beverage                                   Securities Exchange Commission
54-59 43 Street                               195 Lehigh Ave                                     Northeast Regional Office
Maspeth, NY 11378                             Lakewood, NJ 08701                                 Attn John Murray
                                                                                                 Woolworth Building, 233 Broadway
                                                                                                 New York, NY 10279



Senneth Distribution                          Setton International Food                          Shapiros Bakery Wholesale
24 Ronald Drive                               85 Austin Blvd                                     284 Cedar Bridge Ave
Monsey, NY 10952                              Commack, NY 11725                                  Lakewood, NJ 08701




Shefa Foods                                   Shindler Food                                      Shloms Heimish Corp.
P.O. Box 223                                  4222 Amos ave.                                     5104 12 Ave
Monsey, NY 10952                              Baltimore, MD 21215                                Brooklyn, NY 11219




Shortall Electrique                           Shrems Bakery                                      Shwartz Appetizing
665 Montee De Liesseville                     4 Irene Drive                                      2 Bluefield Drive, Unit 203
St. Laurent                                   Monroe, NY 10950                                   Spring Valley, NY 10977
Quebec, ON H4T 1P5
Canada



Signatures by ML Inc                          Simco Logistics                                    Simon Oliveri
1332 58 Street                                P.O. Box 829815                                    750 Lexington Ave, 17 Fl
Brooklyn, NY 11219                            Philadelphia, PA 19182-9815                        New York, NY 10022




Simply Food                                   Simply Sushi                                       SKNY LLC
P.O. Box 320182                               33 Curtis Ave                                      200 Public Square, Suite 2500
Brooklyn, NY 11232                            West Orange, NJ 07052                              Cleveland, OH 44114




SKNY LLC                                      Snapple                                            Snapple Distributors
c/o Seasons                                   33-12 211 Street                                   12891Collections Center
509 Cesar Hill Road                           Bayside, NY 11361                                  Chicago, IL 60693
Far Rockaway, NY 11691




Speedy Graphic                                Spilman Treats                                     Spring Valley Dairy Farms
3700 Clarks Lane                              48-09 New Utrecht Ave                              P.O. Box 742
Baltimore, MD 21215                           Brooklyn, NY 11209                                 Monsey, NY 10952
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Springfield Group                            Sprinkles                                Srulis Autoworks
5600 First Ave                               37 George Street                         1149 Tiffany Ave
Brooklyn, NY 11220                           Hackensack, NJ 07601                     Lakewood, NJ 08701




St. Distributors LLC                         Star-K Certification Inc                 State of NJ
Chilla Beverages                             122 Slade Ave, Suite 300                 Off. of Weights Measure
2833 Smith Ave, 264                          Pikesville, MD 21208                     1261 Routes 1 9 South
Baltimore, MD 21209                                                                   Avenel, NJ 07001-1647




State of NJ DCA                              Sterling Sales                           Stiac Professionally Clea
BFCE-DORES                                   P.O. Box 190055                          539 Marc Drive
P.O. Box 663                                 Brooklyn, NY 11219                       Crystal Spring, PA 15536-6000
Trenton, NJ 08646




Strauss Bakery                               Suburban Carting                         Sungood Inc
1430 37 Street                               P.O. Box 5102                            5014 16 Ave, Suite 2
Brooklyn, NY 11218                           White Plains, NY 10602                   Brooklyn, NY 11204




Sunrise Snacks of Rocklan                    Superio                                  Superior Linen Supply Inc
787 East 27 Street                           P.O. Box 2368                            8 Quickway Road, Unit 101
Paterson, NJ 07504                           Monroe, NY 10949                         Monroe, NY 10950




Supermarket Checkout LLC                     Supermarket Needs Corp.                  Sweet Good Catering
50 Landscape Ave                             1135 Southern Blvd                       6811 Cherokee Drive
Yonkers, NY 10705                            Bronx, NY 10459                          Baltimore, MD 21209




Sweet-Nes Enterprises                        Syrian Specialties                       Sysco Baltimore
5414 New Utrecht Ave                         72 Glen Ave                              P.O. Box 1099
Brooklyn, NY 11219                           Lakewood, NJ 08701                       Jessup, MD 20794




Table Linen                                  Tanya Rosen Inc                          Tasty Baking Company
101 Chateau Drive                            3817 13 Ave                              4300 South 26 Street
Lakewood, NJ 08701                           Brooklyn, NY 11218                       Philadelphia, PA 19112




Tasty Distributors Inc                       Temple Beth El                           The CEG Company LLP
6 Mordche Scher Blvd, 301                    350 Roxbury Road                         30-30 Northern Blvd, Suite 4
Monroe, NY 10950                             Stamford, CT 06902                       Long Island City, NY 11101




The Challah Fairy                            The Challah Fairy                        The Challah Fairy
170 Main Street, Suite 140                   170 North Main Street                    170 North Main Street, Suite 140
New City, NY 10956                           New City, NY 10956                       New City, NY 10956
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The Chef s Kingdom Inc                     The Circle                                The Conservative Synagogu
P.O. Box 1051                              235 River Ave                             30 Hillspoint Road
Monsey, NY 10952                           Lakewood, NJ 08701                        Westport, CT 06880




The Gluten Free Artisan L                  The Icee Company                          The Kosher Cook LLC
1850 NE 164 Street                         P.O. Box 515723                           101 West 7 St
Miami, FL 33162                            Los Angeles, CA 90051-5023                Bayonne, NJ 07002




The Kosher Cook LLC                        The Kosher Edge                           The Oliveri Group LLC
P.O. Box 329                               25 South Post Lane                        750 Lexington Ave
Cedarhurst, NY 11516                       Monsey, NY 10952                          New York, NY 10022




The Rebbe s Choise                         Thomas                                    Three Locks
75-02 137 Street                           57-54 Page Place                          P.O. Box 461
Flushing, NY 11367                         Maspeth, NY 11378                         Cedarhurst, NY 11516




Tomchei Shabbos                            Tomchei Shabbos                           Top Banana LLC
212 Second Street, Suite 403               634 Oak Drive                             413-420 Row D
Lakewood, NJ 08701                         Far Rockaway, NY 11691                    NYC Terminal Market
                                                                                     Bronx, NY 10474




Top Banana LLC                             Tov Products Inc                          Tower Paper Co.
NYC Terminal Market, 413-420 Row D         1428 President Street                     1216 Brunswick Ave
Bronx, NY 10474                            Brooklyn, NY 11213                        Far Rockaway, NY 11691




Travelers Indemnity Co.                    Travelers Property Insur                  Travelers Workers Comp.
One Tower Square                           Umbrella                                  One Tower Square
Hartford, CT 06183                         One Tower Square                          Hartford, CT 06183
                                           Hartford, CT 06183




Tri-State Carbonation Ser                  Tri-State Fire Prevention                 Tropicana Chilled DSD
P.O. Box 333                               175-185 West First Street                 A Division of QSDI
Thompsonville, NY 12784                    Mount Vernon, NY 10550                    75 Remittance Drive, Suite 1856
                                                                                     Chicago, IL 60675-1856




Tuv Taam Corp.                             Tuv Taam Corp.                            Tuv Taam Corp.
502 Flushing Ave                           502 Flushing Ave                          Kosher First LLC
Brooklyn, NY 11205                         Brooklyn, NY 12205                        502 Flushing Ave
                                                                                     Brooklyn, NY 12205




Twenty Four Six Food Inc                   U.S. Attorney                             U.S. Department of Justice
961 Elton Street                           271 Cadman Plaza East                     Office of the U.S. Attorney General
Brooklyn, NY 11208                         Brooklyn, NY 11201                        Attn Eric H. Holder, Jr.
                                                                                     950 Pennsylvania Avenue, NW
                                                                                     Washington, DC 20530-0001
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U.S. Trustee                                United Nature Foods                      United States Attorney s Office
Long Island Federal Courthouse              P.O. Box 706                             Eastern District of New York
560 Federal Plaza - Room 560                Keene, NH 03431                          Attn Long Island Bankruptcy Processing
Central Islip, NY 11722-4437                                                         610 Federal Plaza, 5th Floor
                                                                                     Central Islip, NY 11722



Universal Beverages                         Upstate Dairy                            Upstate Marketing Co.
5314 16 Ave, 119                            54 Walworth Street                       23 Schunnemunk Road, Unit 101
Brooklyn, NY 11204                          Brooklyn, NY 11205                       Monroe, NY 10950




UTZ Quality Foods                           Vaad Hakashrus of 5 towns                Vaad Harabonin of Queens
900 High Street                             597A Willow Ave                          141-49 73 Ave
Hanover, PA 17331                           Cedarhurst, NY 11516                     Flushing, NY 11367




Venable LLP                                 Verizon                                  Vidi Cutlery Inc
P.O. Box 62727                              P.O. Box 15124                           P.O. Box 312
Baltimore, MD 21264-2727                    Albany, NY 12212-5124                    Woodbine, MD 21797




Waste Connections                           Webest Inc                               Westside Tea Corp.
99 Wood Ave S, Suite 1001                   262 Heyward Street                       55 Hunter Lane
Iselin, NJ 08830-2734                       Brooklyn, NY 11206                       Elmsford, NY 10523




Where What When                             Whitey Produce Co. Inc                   Wilson Elser Moskowitz
6016 Clover Road                            46-48-49 Bklyn Term. Mkt.                200 Campus Drive
Baltimore, MD 21215                         Brooklyn, NY 11236                       Florham Park, NJ 07932




Y S Coffee Co.                              Y S Coffee Co.                           Yated Ne eman
350 Campus Drive                            90 Waterbury                             232 Martin Luther King Dr
Somerset, NJ 08873                          Brooklyn, NY 11206                       Lakewood, NJ 08701




Yated Ne eman                               Yitzys Dist.                             Yoffe, Avrohom
53 Olympia Lane                             3114 Ave J                               1242 East 21 Street
Monsey, NY 10952                            Brooklyn, NY 11210                       Brooklyn, NY 11210




Yonis Food LLC                              Young Israel of White Pla                Yuks Import Export
485 Beverly Road                            135 Old Mamaroneck Road                  3714 Bendemeer Road
Teaneck, NJ 07666                           White Plains, NY 10605                   Cleveland, OH 44118




YW PA Dist.                                 Zadies Bak Shop                          Zadies Bake Shop
4403 15 Ave, 208                            1930 50th Street                         19-09 Fair Lawn Ave
Brooklyn, NY 11218                          Brooklyn, NY 11204                       Fair Lawn, NJ 07410
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Zadies Bake Shop                          Zahler                                  Zappy Products
199-09 Fair Lawn Ave                      50 Lawrence Ave                         188 Marian Ct
Fair Lawn, NJ 07410                       Brooklyn, NY 11230                      Lakewood, NJ 08701




Zeichner Ellman Krause Llp                Zevi s Fish                             Zimmerman/Freeda Vitamins
Attn Robert Guttmann/Peter Janovsky       1685 McDonald Ave                       355 Lawrence Ave
1211 Avenue of the Americas               Brooklyn, NY 11230                      Lakewood, NJ 08701
New York, NY 10036




Zomicks
85 INIP Drive
Inwood, NY 11096
